Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 1 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 2 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 3 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 4 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 5 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 6 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 7 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 8 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 9 of 116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 10 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 11 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 12 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 13 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 14 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 15 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 16 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 17 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 18 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 19 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 20 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 21 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 22 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 23 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 24 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 25 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 26 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 27 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 28 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 29 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 30 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 31 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 32 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 33 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 34 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 35 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 36 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 37 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 38 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 39 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 40 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 41 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 42 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 43 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 44 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 45 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 46 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 47 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 48 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 49 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 50 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 51 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 52 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 53 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 54 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 55 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 56 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 57 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 58 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 59 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 60 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 61 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 62 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 63 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 64 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 65 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 66 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 67 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 68 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 69 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 70 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 71 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 72 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 73 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 74 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 75 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 76 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 77 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 78 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 79 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 80 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 81 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 82 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 83 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 84 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 85 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 86 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 87 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 88 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 89 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 90 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 91 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 92 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 93 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 94 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 95 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 96 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 97 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 98 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 99 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 100 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 101 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 102 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 103 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 104 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 105 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 106 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 107 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 108 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 109 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 110 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 111 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 112 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 113 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 114 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 115 of
                                        116
Case 14-30699-hdh11 Doc 233-1 Filed 03/28/14   Entered 03/28/14 18:37:05   Page 116 of
                                        116
